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                      UNITED STATE DISTRICT COURT
                           DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-             Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, CAITLIN GUSTAFSON,          COMBINED BRIEF IN OPPO-
M.D., on behalf of herself and her patients,    SITION TO PLAINTIFFS’ MO-
and DARIN L. WEYHRICH, M.D., on behalf          TION FOR PRELIMINARY
of himself and his patients,                    INJUNCTION AND IN SUP-
                Plaintiffs,                     PORT OF STATE OF IDAHO’S
                                                MOTION TO DISMISS
v.
RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho; MEM-
BERS OF THE IDAHO STATE BOARD OF
MEDICINE and IDAHO STATE BOARD OF
NURSING, in their official capacities,
COUNTY PROSECUTING ATTORNEYS, in
their official capacities,
                Defendants.
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                                    INTRODUCTION

      Plaintiffs claim they are threatened by a private letter the Attorney General

sent to Rep. Brent Crane in response to his request for an opinion about Idaho’s abor-

tion laws (the “Crane Letter”). The Attorney General withdrew the Crane Letter

after the Legislature amended those laws and upon learning that Rep. Crane had

improperly requested the opinion on behalf of a constituent who sought it to support

a fundraising effort. The withdrawal of that opinion should have ended any arguable

legal controversy over the matter. But it didn’t. Plaintiffs still claim they need an

injunction against a purported ongoing threat from a now-rescinded letter that the

Attorney General never enforced and has no power to enforce. The law says other-

wise: Plaintiffs’ claims suffer from multiple jurisdictional defects that preclude an

injunction and mandate dismissal.

      At the outset, this action is beset with Defendant-specific jurisdictional prob-

lems. Plaintiffs focus their claims on the Attorney General’s Crane Letter, but the

Eleventh Amendment precludes jurisdiction over the Attorney General. And the Ex

Parte Young exception does not apply to the Attorney General because he has no au-

thority to prosecute violations of the abortion laws at issue (nor has he threatened to

do so). Not only that, but Plaintiffs have failed to secure personal jurisdiction over

all of the 44 different county prosecutors they have sued. Many of those prosecutors

have not been served at all, and others were served improperly. This gives them

jurisdictional objections that, once resolved, will only invite piecemeal relitigation of

the issues as to which Plaintiffs have demanded an immediate hearing.



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      But even more fundamentally, both Plaintiffs’ motion and this action fail

across the board because Plaintiffs lack any cognizable injury. Plaintiffs cannot claim

any credible threat of pre-enforcement harm from a letter that the Attorney General

has unequivocally withdrawn and declared entirely void. And even before the letter

was withdrawn, their theory of injury failed. An abstract opinion letter on questions

of Idaho law that the Attorney General has no power to enforce presents no specific

threat to Plaintiffs. The Attorney General never gave that letter to county prosecu-

tors or to state licensing boards. Plaintiffs do not allege that any of those have taken

any specific action against them or are even contemplating any specific action. No

Defendant has threatened Plaintiffs with the prosecutions they claim to fear, so

Plaintiffs have no legal injury, to say nothing of irreparable harm. And that lack of

a cognizable Article III injury demands that the Court deny Plaintiffs’ motion and

dismiss this case for lack of jurisdiction.

                                     BACKGROUND

      Idaho law requires the Attorney General “to give an opinion in writing, without

fee,” to any legislator, “when requested, upon any question of law relating to their

respective offices.” Idaho Code § 67-1401(6). The Attorney General renders those

opinions to fulfill his legal duty to represent state entities. See id. § 67-1401(1). So

Attorney General opinions are privileged communications that remain private unless

the requesting party elects to disclose them.

      Here, Rep. Brent Crane asked the Attorney General for an opinion about sev-

eral aspects of Idaho’s abortion laws, including whether those laws prohibit “referring



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women across state lines to obtain abortion services.” Ex. 1, Crane Letter. 1    0F   On

March 27, 2023, the Attorney General sent a private letter to Rep. Crane providing

the requested opinions and answering the question in the affirmative. Id. at 1. But

one day later, the legislature introduced HB374, which would amend the definition

of abortion in those laws. HB374 passed both houses and was signed by the Governor

just days later, on April 6, 2023. H.B. 374, 67th Leg., Reg. Sess. (Idaho 2023).

         Because the Crane Letter was a privileged communication, the Attorney Gen-

eral did not send it to anyone other than Rep. Crane. And since the Attorney General

lacks any authority to prosecute violations of the abortion laws at issue, 2 the Crane
                                                                           1F




Letter plainly did not state any enforcement policy of the Attorney General. Nor was

the Crane Letter meant to serve as any sort of guidance to any other Idaho agency.

It was not provided either to county prosecutors or to the Division of Occupational

and Professional Licensing, which supervises the Board of Medicine and Board of

Nursing. See Ex. 2 (Barron Decl.).

         Yet unbeknownst to the Attorney General, others wished to make the letter

public. Rep. Crane had requested this opinion not on behalf of himself, but for a




1   All Exhibits are attached to the supporting Declaration of Lincoln Wilson.
2 See Idaho Code 67-1401(7); Idaho Attorney General, Explanation of Duties and Re-
sponsibilities, available at https://tinyurl.com/2u8eeds8 (“County prosecuting attor-
neys and county sheriffs have primary responsibility for enforcing Idaho’s criminal
laws. As a rule, the Attorney General may investigate and prosecute cases at the
county level only when a statute grants the Attorney General concurrent jurisdiction
or when local authorities request assistance for a specific case.”).


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constituent, to whom he immediately forwarded the Crane Letter. And that constit-

uent then issued a press release publicizing the Crane Letter to support her organi-

zation. 3
       2F




       On April 5, 2023, just days after that publication, Plaintiffs filed this action.

They sued the Attorney General, members of the State Boards of Medicine and Nurs-

ing, and the prosecuting attorneys for all 44 Idaho Counties. They targeted the Crane

Letter’s statement that “referring women across state lines to obtain abortion ser-

vices” violated Idaho law, see Crane Letter at 1, which they characterized as chilling

their protected speech in the course of patient counseling. Dkt. 1 ¶ 4. They said that

“but for” the letter, they would continue counseling patients as they wish. Id. ¶ 41.

And they asked the Court for a temporary restraining order and preliminary injunc-

tion against the opinion of Idaho law set out in the Crane Letter.

       At the same time, the Attorney General further examined the Crane Letter,

which led him to withdraw it. Ex. 3, Withdrawal Letter. As he explained, the Crane

Letter was not “law enforcement guidance sent out publicly to local prosecutors …

nor was it ever published by the Office of the Attorney General.” Id. at 1. The opinion

it gave was “moot because it relate[d] to a law that has been significantly altered by

intervening legislation,” i.e., HB374. Id. at 1. And because Rep. Crane had acted “as




3 See Stanton International, Idaho Attorney General Issues Legal Analysis Affirming
the Prohibition of Abortion Pills, https://stantoninternational.org/chemicalabortion/
(last visited Apr. 14, 2023).


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a pass-through ‘requestor,’” the opinion was “not an authorized request for an Attor-

ney General’s Opinion as contemplated by Idaho Code § 67-1401(6).” Id. Instead,

immediately after the letter was sent, “it was publicly posted by a nongovernmental

third party who requested it in service of a political fundraising plea.” Id. at 2. Thus,

on April 7, 2023, the Attorney General determined the Crane Letter was “withdrawn”

and “void in its entirety.” Id. It “does not represent the views of the Attorney General

on any question of Idaho law.” Id.

      Despite the withdrawal of the Crane Letter, Plaintiffs still insisted on an im-

mediate hearing on their motion for a preliminary injunction. The Attorney General

submitted that the withdrawal of the Crane Letter made an emergency proceeding

unnecessary, especially since many of the county prosecutor Defendants remained

unserved and unrepresented. On April 11, 2023, the Court ordered the Attorney Gen-

eral to file a response by noon on April 14. Then, on April 13, just hours before the

Attorney General’s response was due, Plaintiffs moved for leave to submit brand-new

declarations in support of their motion, Dkt. 35, which the Court granted.

      The Attorney General now responds to Plaintiffs’ preliminary injunction mo-

tion and moves to dismiss on behalf of the State and certain county prosecutors who

have been served with the Complaint and have requested his representation.

                                  LEGAL STANDARDS

      “Without jurisdiction the court cannot proceed at all in any cause.” Ex parte

McCardle, 74 U.S. 506, 514 (1868). Thus, a court cannot adjudicate a matter without




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subject matter jurisdiction, which demands that litigants satisfy the familiar require-

ments of Article III standing. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).

Fed. R. Civ. P. 12(b)(1) governs motions to dismiss for lack of jurisdiction. Chandler

v. State Farm Mut. Auto Ins. Co., 598 F.3d 1115, 1122 (9th Cir. 2010). Unlike for

review for failure to state a claim under Rule 12(b)(6), a court determining jurisdic-

tion based on Article III standing may consider “the complaint and any other partic-

ularized allegations of fact[] in affidavits.” Table Bluff Reservation (Wiyot Tribe) v.

Phillip Morris, Inc., 256 F.3d 879, 882 (9th Cir. 2001).

      A preliminary injunction is “an extraordinary and drastic remedy, one that

should not be granted unless the movant, by a clear showing, carries the burden of

persuasion.” Fraihat v. U.S. Immigration and Customs Enforcement, 16 F.4th 613,

635 (9th Cir. 2021) (cleaned up). To obtain this extraordinary relief, Plaintiffs must

show (1) that they are likely to succeed on the merits; (2) that they are likely to suffer

irreparable harm without injunctive relief; (3) that the balance of equities tips in their

favor; and (4) that an injunction is in the public interest. Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008). A court cannot grant a preliminary injunction if

it lacks subject matter jurisdiction or personal jurisdiction. See Ex parte McCardle,

74 U.S. at 514; R.M.S. Titanic, Inc. v. Haver, 171 F.3d 943, 958 (4th Cir. 1999).

                                      ARGUMENT

I.    Threshold Jurisdictional Problems Preclude an Injunction.

      Even before reaching the basic questions of injury that prevent this action from

proceeding, discrete, Defendant-specific jurisdictional problems frustrate a complete



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adjudication of Plaintiffs’ claims and show that a preliminary injunction would be

both unlawful and ill-advised. For one, Plaintiffs’ claims against the Attorney Gen-

eral are barred by the Eleventh Amendment. And for another, the lack of proper

service (and thus of personal jurisdiction) over several county prosecutors counsels

decidedly against a grant of preliminary relief as to anyone.

      A.     The Attorney General Has Sovereign Immunity.

      Plaintiffs’ suit against the Attorney General is barred by sovereign immunity

because he has no legal authority to institute the prosecutions that Plaintiffs claim

to fear. The Eleventh Amendment makes sovereign immunity a jurisdictional de-

fense by providing that “[t]he Judicial power of the United States shall not be con-

strued to extend to any suit in law or equity, commenced or prosecuted against one

of the United States.” U.S. CONST. amend. XI. And the only conceivable exception to

sovereign immunity—an official capacity suit for prospective relief under Ex parte

Young, 209 U.S. 123 (1908)—does not apply here.

      The Ex parte Young exception to sovereign immunity requires that the officers

sued in their official capacity “are clothed with some duty in regard to the enforce-

ment of the laws of the state, and … threaten and are about to commence proceedings

... to enforce against parties affected [by] an unconstitutional act.” Ex parte Young,

209 U.S. at 155–56. Neither element of that test is met here. As set forth in Point II

below, the Attorney General has not threatened prosecution of anyone at any time

under the theory outlined in the Crane Letter. And the Attorney General lacks any




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“special relation” to enforcement of this law that would make him a proper defendant.

Id. at 157.

The “special relation” that Ex parte Young requires between the official and enforce-

ment of the law “must be fairly direct; a generalized duty to enforce state law or gen-

eral supervisory power over the persons responsible for enforcing the challenged pro-

vision will not subject an official to suit.” Los Angeles County Bar Ass’n v. Eu, 979

F.2d 697, 704 (9th Cir.1992); see also McBurney v. Cuccinelli, 616 F.3d 393, 399 (4th

Cir. 2010). That direct connection doesn’t exist here: the Attorney General has no

authority to enforce the opinion stated in the now-withdrawn Crane Letter because

he has no general authority to prosecute violations of state criminal law on abortion.

Rather, any such authority exists only on referral from county prosecutors, and leg-

islative changes to the attorney general’s power under Idaho Code § 67-1401(7) have

“reduc[ed] the authority of the Attorney General in relation to county prosecuting

attorneys.” See State v. Summer, 139 Idaho 219, 76 P.3d 963, 968 (2003); see also

supra note 2. Nor is the Attorney General’s “duty to issue advisory opinions” like the

Crane Letter “sufficient to make him the proper party to litigation.” McBurney, 616

F.3d at 400. 4 (cleaned up).
              3F




4
 The Ninth Circuit’s decision in Planned Parenthood v. Wasden held that the Attor-
ney General was a proper defendant to a facial challenge to Idaho’s then-current abor-
tion laws. 376 F.3d 908, 920 (9th Cir. 2004). But that decision is no longer good law
because it construed a prior version of the attorney general statute and the Supreme
Court has now repudiated its past abortion cases, which had “diluted the strict stand-
ard for facial constitutional challenges.” Dobbs v. Jackson Women’s Health Org., 142
S. Ct. 2228, 2275 (2022). In any event, Wasden is inapposite, since it concerned a



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      Other courts of appeals have dismissed claims against attorneys general in the

absence of a special relation between his office and the law at issue. See Okpalobi v.

Foster, 244 F.3d 405 (5th Cir. 2001) (en banc) (plurality opinion); Smith v. Beebe, 123

F. App’x 261 (8th Cir. 2005). And the speculative possibility that the now-rescinded

Attorney General opinion might entice county prosecutors to enforce the law in that

manner does not create any basis to sue the Attorney General himself. Universal Life

Church Monastery Storehouse v. Nabors, 35 F.4th 1021, 1033 (6th Cir. 2022). So the

Eleventh Amendment forbids jurisdiction over claims against the Attorney General.

      Since sovereign immunity bars litigation against the Attorney General, that

means the only Defendants left in this case are the members of the state licensing

boards (who have not yet appeared) and the county prosecutors (many of whom have

not even been served). And as speculative as Plaintiffs’ theory of harm is already, it

is even more speculative if it postulates that these Defendants threaten to enforce a

now-rescinded policy of another state entity. The lack of jurisdiction over the Attor-

ney General is thus fatal to Plaintiffs’ request for an injunction as a whole.

      B.     The Court Lacks Jurisdiction Over Certain Defendants.

      This action is beset not just with problems of subject matter jurisdiction, but

with defects in personal jurisdiction. Plaintiffs demand preliminary injunctive relief

though not all Defendants have been properly served. Even apart from the lack of




facial challenge to state law itself, not, as here, a challenge predicated on the unsup-
portable notion that the Attorney General will attempt general criminal enforcement
of a now-rescinded private advisory opinion.


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any injury to support Plaintiffs’ extraordinary request for immediate relief, this lack

of personal jurisdiction over Defendants—and its invitation for further piecemeal lit-

igation—warrants denial of Plaintiffs’ motion.

      Plaintiffs sued Idaho’s 44 county prosecutors by name. See Fed. R. Civ. P.

17(d). In urging the Court to schedule an immediate hearing on their motion for

preliminary injunction, they said they would complete service this week. At this

point, they have properly served some of the county prosecutors, but for others, Plain-

tiffs have failed to follow the service requirements of Federal Rule of Civil Procedure

4. As a result, there is no personal jurisdiction over those prosecutors, and those

prosecutors intend to file timely motions to dismiss for lack of personal jurisdiction

and service of process under Rule 12(b)(2) and (5).

      Absent the limited exceptions for an ex parte temporary restraining order,

which Plaintiffs no longer request here, a party cannot be bound by an order from a

court that has no jurisdiction over him. See R.M.S. Titanic, 171 F.3d at 958 (prelim-

inary injunction unenforceable where district court did not obtain personal jurisdic-

tion through valid service of process). So if the Court were to grant preliminary relief,

it would be void as to those parties over whom the Court lacks personal jurisdiction.

To bind those parties requires several more steps: the Court would have to adjudicate

any service objections raised by motion, Plaintiffs would have to effect proper service,

and then the other parties would be entitled to another separate hearing on the pre-

liminary injunction motion. So to avoid such unnecessary and duplicative litigation




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in this complex, multi-defendant matter, the Court should decline to issue a prelimi-

nary injunction.

II.    Plaintiffs Have No Injury, Let Alone an Irreparable One.

       Plaintiffs are not injured and have no business in the federal courts. Without

an injury, Plaintiffs lack Article III standing, and the Court lacks jurisdiction. It also

means Plaintiffs necessarily cannot show irreparable harm, the first essential ele-

ment for a preliminary injunction. The lack of injury mandates dismissal and denial

of Plaintiffs’ motion.

       Injury is fundamental to a real controversy and thus to jurisdiction. Federal

courts cannot “issue advisory opinions nor ... declare rights in hypothetical cases,” but

can only “adjudicate live cases or controversies consistent with the powers granted

the judiciary in Article III of the Constitution.” Thomas v. Anchorage Equal Rights

Comm’n, 220 F.3d 1134, 1138 (9th Cir. 2000) (en banc). The doctrine of standing

“gives meaning to these constitutional limits by identifying those disputes which are

appropriately resolved through the judicial process.”        Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 157 (2014) (cleaned up). At minimum, it requires an “injury

in fact” that is “concrete and particularized” and “actual or imminent, not ‘conjectural’

or ‘hypothetical.’” Id. at 158 (quoting Lujan, 504 U.S. at 560). Thus, a party alleging

future injury must show that the “threatened injury is ‘certainly impending,” or that

there is a “’substantial risk’ that the harm will occur.” Id. (cleaned up). And if there

is no injury in fact, there is certainly not any irreparable harm—the threshold re-

quirement for a preliminary injunction. Winter, 555 U.S. at 22.



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      Additional requirements apply where, as here, Plaintiffs bring a pre-enforce-

ment challenge to government action. In this posture, a “plaintiff satisfies the injury-

in-fact requirement” by showing that (1) he intends to engage in conduct arguably

affected with a constitutional interest; (2) the intended conduct is arguably proscribed

by the challenged statute, and (3) the plaintiff faces a substantial threat of future

enforcement under the statute. Susan B. Anthony List, 573 U.S. at 161 (citation

omitted). “For there to be jurisdiction over a preenforcement challenge, there must

be a genuine threat of imminent prosecution.” Skyline Wesleyan Church v. California

Dep't of Managed Health Care, 968 F.3d 738, 748 (9th Cir. 2020) (citation and inter-

nal quotation marks omitted).

      Plaintiffs cannot meet any of these requirements. They lack any cognizable

injury because the Crane Letter has been withdrawn. But even before the letter was

withdrawn, they failed to show a sufficient threat of future harm. That dooms their

request for injunctive relief and mandates dismissal for lack of jurisdiction.

      A.     Plaintiffs Have No Injury From a Letter That Was Withdrawn.

      The complete and unambiguous withdrawal of the Crane Letter forecloses any

argument that Plaintiffs have a cognizable injury. Plaintiffs made the Crane Letter

the very heart of their Complaint, alleging that “but for” the letter, they would con-

tinue counseling patients as they wish. Dkt. 1 ¶ 41. They were very clear in this

respect, alleging that without the Crane Letter, they “would provide pregnant pa-

tients with critical information to obtain necessary abortion care.” Id. ¶ 4. So now,

their sole asserted basis for injury has evaporated, and with it, any arguable claim of



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jurisdiction, much less irreparable harm. The Court must decline to weigh in on this

manufactured controversy.

      Ninth Circuit law is clear on these points. It is well-established that pre-en-

forcement plaintiffs lack standing—and fail to satisfy the “synonymous” constitu-

tional component of ripeness—unless they face a “specific and credible threat of ad-

verse action.” Lopez v. Candaele, 630 F.3d 775, 781 (9th Cir. 2010). A threat can be

credible even short of prosecution, but there still “must be a genuine threat of immi-

nent prosecution.” Unified Data Servs., LLC v. Fed. Trade Comm’n, 39 F.4th 1200,

1210 (9th Cir. 2022) (emphasis in original) (citation and internal quotation marks

omitted). A credible threat, for example, is one where “prosecuting authorities have

communicated a specific warning or threat to initiate proceedings under the chal-

lenged speech restriction” or where “there is a history of past prosecution or enforce-

ment under the challenged statute.” Candaele, 630 F.3d at 786 (citation omitted).

Plaintiffs cannot make that showing.

      Even while Plaintiffs have never faced a credible threat, now that the Crane

Letter is void, they cannot possibly satisfy their burden of showing a “genuine” and

“imminent” threat of prosecution. See Unified Data, 39 F.4th at 1210. For one, the

voidance of the Crane Letter returns Plaintiffs to their pre-March 27 position. And

as they make crystal clear in their Complaint, the only cause of their concern is the

Crane Letter. See Dkt. 1 ¶¶ 1–5, 27–42, 47–54, 57, 65–66. For another, the Attorney

General’s withdrawal of the Crane Letter makes emphatically clear that the Crane

Letter “does not represent the views of the Attorney General on any question of Idaho



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law.” Withdrawal Letter at 2. Plaintiffs cannot maintain their supposed threat of

future injury (speculative as it was) by refusing to accept that the allegedly harmful

instrument has been voided in its entirety. They cannot force Defendants to partici-

pate in the First Amendment plot they’ve painted in their Complaint.

      Other courts of appeals have found no justiciable controversy in similar cir-

cumstances. For example, in Ammex, Inc. v. Cox, 351 F.3d 697 (6th Cir. 2003), the

Sixth Circuit recognized that the withdrawal of an attorney general letter was fatal

to jurisdiction. There, the Michigan Attorney General provided a company with a

Notice of Intended Action that its advertising may result in an enforcement action

against it. Id. at 700. The company brought suit over the Notice, and deep into liti-

gation, the Attorney General withdrew it, which led the district court to dismiss the

action. Id. at 702. The Sixth Circuit affirmed, explaining that the withdrawal of the

Notice made the dispute unripe for judicial review. The company could not show that

the dispute was fit for judicial review or that it would face any hardship if the court

withheld review. Id. at 708–10. Even when it was valid, the Notice was merely an

“initiation of proceedings” that may not have resulted in prosecution, but after it was

withdrawn, the company had experienced no arguable harm from it. Id. So too here.

      The prudential considerations here factor even more heavily in favor of dismis-

sal for lack of ripeness. See Thomas, 220 F.3d at 1141. While Plaintiffs seem intent

to draw this Court into an “unnecessary” review, the doctrine of ripeness protects

courts from engaging with abstract constitutional concerns that may never material-




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ize. Ohio Forestry Ass’n, Inc. v. Sierra Club, 523 U.S. 726, 727 (1998). That is par-

ticularly true here with Plaintiffs’ bombastic concerns that doctors are being muzzled

from talking to patients by a private letter that was rescinded little more than a week

after it was issued. “A concrete factual situation is necessary to delineate the bound-

aries of what conduct the government may or may not regulate.” See Thomas, 220

F.3d at 1141 (citation omitted). The Court should therefore decline Plaintiffs’ invita-

tion to decide “constitutional questions in a vacuum.” Id. (citation omitted). Refusing

to hear a case without an injury poses no harm to Plaintiffs.

      Whether viewed as a matter of ripeness or mootness, the withdrawal of the

Crane Letter defeats Plaintiffs’ Article III standing. The Article III ripeness require-

ment “prevents courts from becoming entangled in abstract disagreements,” Wolfson

v. Brammer, 616 F.3d 1045, 1057 (9th Cir. 2010) (cleaned up), that would prevent

government actors from refining their policies when confronted with a specific prob-

lem. Sierra Club, 523 U.S. at 727; Skyline Wesleyan, 968 F.3d at 747. That has not

happened yet because, as the Attorney General has explained, he has not been pre-

sented with a proper request for an opinion on any question of Idaho law. Withdrawal

Letter at 1–2. And for the same reasons, the withdrawal of the Crane Letter mooted

any arguable controversy that existed before. See Oregon Advocacy Ctr. v. Mink, 322

F.3d 1101, 1116 (9th Cir. 2003). Plaintiffs cannot seriously claim that “an actual

controversy [is] extant at” this stage in the case. Bernhardt v. Cnty. of Los Angeles,

279 F.3d 862, 871 (9th Cir. 2002). So if Plaintiffs ever had standing to bring their

claims, those claims would now be moot.



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      Plaintiffs’ invocation of the First Amendment provides no shortcut around Ar-

ticle III’s requirements. That the Ninth Circuit “appl[ies] the requirements of ripe-

ness and standing less stringently in the context of First Amendment claims” does

not mean “that any plaintiff may bring a First Amendment claim by nakedly assert-

ing that his or her speech was chilled.” Twitter, Inc. v. Paxton, 56 F.4th 1170, 1173–

74 (9th Cir. 2022) (citation and internal quotation marks omitted). “Mere allegations

of a subjective chill are not an adequate substitute for a claim of specific present ob-

jective harm or a threat of specific future harm.” Candaele, 630 F.3d at 787 (cleaned

up). Without that threat, of which there is no evidence here, all that Plaintiffs have

here is naked assertion of chilled speech.

      Finally, just hours before this brief was due, Plaintiffs proffered new declara-

tions purporting to show that, despite the withdrawal of the Crane Letter, it still

presents a threat that chills their speech. See Dkt. 35. But those declarations do not

show any specific threat of future harm that would chill Plaintiffs’ speech. That is

because the Crane Letter—a private letter to a legislator—did not threaten anyone

with prosecution. Nor could it, since the “Attorney General does not have the power

to initiate criminal prosecutions.” Nabors, 35 F.4th at 1032. “[T]here is no imminent

prosecution that a federal court could coerce the Attorney General to refrain from un-

dertaking,” and Plaintiffs’ fear that he may hold an unexpressed view of a law that

he lacks the authority to enforce is not a threat sufficient to support standing. Id.

(emphasis added); accord McBurney, 616 F.3d at 399–400. Plaintiffs are uninjured,

and unentitled to redress.



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      B.     Plaintiffs Had No Injury Even Before the Letter Was Withdrawn.

      Even during the short time before the Crane Letter was withdrawn, Plaintiffs

had no cognizable injury. They seek a far-reaching injunction to prevent Idaho from

enforcing a law against them for conduct they don’t plan to engage in. They didn’t

show an intention to engage in conduct that violates Idaho law or that there ever was

a genuine threat of imminent enforcement action against them.

      Plaintiffs’ theory of standing is premised on the alleged possibility of prosecu-

tion under the Crane Letter’s now-withdrawn opinion that Idaho Code § 18-622(2)

prohibits medical providers in Idaho from referring women to other states to obtain

an abortion. See, e.g., Dkt. 1 ¶¶ 4–5. Proving standing in this pre-enforcement con-

text focuses on (1) “whether the prosecuting authorities have communicated a specific

warning or threat to initiate proceedings”; (2) “whether the plaintiffs have articulated

a concrete plan to violate the law in question”; and (3) “the history of past prosecution

or enforcement under the challenged statute.” Twitter, Inc., 56 F.4th at 1174. (cita-

tion omitted). None of these elements are present here.

             1.     No-one Has Threatened Plaintiffs.

      Even before the withdrawal of the Crane letter, Plaintiffs didn’t show a “sub-

stantial threat of future enforcement under” Idaho Code § 18-622(2). Susan B. An-

thony List, 573 U.S. at 161. The Ninth Circuit analyzes a “substantial threat of future

enforcement” by considering “whether the prosecuting authorities have communi-

cated a specific warning or threat to initiate proceedings, and the history of past pros-

ecution or enforcement under the challenged statute.” Thomas, 220 F.3d at 1139



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(citation omitted). “The potential plaintiff must have an ‘actual or well-founded fear

that the law will be enforced against’” it. Twitter, Inc., 56 F.4th at 1174.

      Plaintiffs’ Complaint identifies no “specific warning or threat” to enforce Idaho

law against them or against anyone. Plaintiffs’ only evidence of threatened enforce-

ment is the now-withdrawn Crane Letter. But even before it was withdrawn, the

Crane Letter could not satisfy the threat requirement. The Crane Letter was sent to

one legislator as private legal advice; it was not published by the Attorney General

or offered as guidance in any capacity. Plaintiffs do not allege that the Attorney Gen-

eral sent the letter to anyone else, much less to the county prosecutors or the state

licensing boards, each of which act independent of the Attorney General. Indeed, the

state licensing boards have denied having received any such communication from the

Attorney General. See Ex. 2 (Barron Decl.). And most of all, the Attorney General

lacks any authority to direct the actions of county prosecutors, much less to prosecute

violations of Idaho Code § 18-622(2). See Nabors, 35 F.4th at 1032; McBurney, 616

F.3d at 399–400.

      Finally, pre-enforcement standing also requires that “the threat of enforce-

ment or warning of enforcement must be particular to the plaintiff.” Cedar Park As-

sembly of God of Kirkland, Wash. v. Kreidler, 402 F. Supp. 3d 978 (W.D. Wash. 2019)

(citation omitted). Yet the Crane Letter was wholly generalized—it “was not a spe-

cific warning to” Plaintiffs “and binds no one.” Stormans, Inc. v. Selecky, 586 F.3d

1109, 1125 (9th Cir. 2009). Plaintiffs have not been threatened and do not have

standing.



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             2.    Plaintiffs Have Not Shown They Intend to Violate the Law.

      Plaintiffs fail to show they intend “to engage in … conduct” that would violate

the law as interpreted by the Crane Letter. Susan B. Anthony List, 573 U.S. at 161.

This element of pre-enforcement standing “requires something more than a hypothet-

ical intent to violate the law.” Thomas, 220 F.3d at 1139. Plaintiffs must “articulate

a concrete plan to violate” Idaho law “by giving details ... such as when, to whom,

where, or under what circumstances.” Candaele, 630 F.3d at 787 (cleaned up).

      The Complaint alleges that before the Crane Letter, certain Plaintiffs provided

patients with information about obtaining an out-of-state abortion. Dkt. 1 ¶ 40. The

Complaint further alleges that but for the Crane Letter, other Plaintiffs would “in-

form and counsel patients regarding abortion, including potentially referring patients

to out-of-state providers.” Id. ¶ 41 (emphasis added). The Complaint also alleges

that Plaintiff Gustafson “planned to begin providing abortions” in other states, but

that “those plans have been put in jeopardy because of” the Crane Letter. Id. ¶ 38.

But the Complaint says nothing about “when, … or under what circumstances,” these

providers intend to refer women for out-of-state abortions or provide abortions in

other states. Candaele, 630 F.3d at 787. Even a generous reading of the Complaint

suggests the abortionists have only a “hypothetical intent to violate the law,” which

isn’t enough for pre-enforcement standing, Thomas, 220 F.3d at 1139, especially for

the “extraordinary and drastic remedy” of a preliminary injunction. Fraihat, 16 F.4th

at 635.

      Plaintiffs’ supporting declarations are similarly noncommittal:



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    A Planned Parenthood executive declares that Idaho Planned Parenthood
     facilities generally referred women to abortion providers in other states
     after Dobbs but stopped doing this when they learned about the Crane
     Letter. Dkt. 2-2 ¶¶ 12–14. But the executive does not say that these
     facilities plan to continue referring women for out-of-state abortions now
     or at any time in the future or when other providers will refer women for
     abortions out of state.

    Plaintiff Gustafson likewise asserts that she was referring women for out-
     of-state abortions before the Crane Letter’s issuance and has since
     stopped doing so. See Dkt. 2-3 ¶¶ 12–18. But she never declares a specific
     intention to continue referring women for out-of-state abortions in any
     specific circumstances. See generally, Dkt. 2-3 (Gustafson Decl.).

    Plaintiff Weyrich’s declaration is even weaker. He asserts that he has not
     referred any women for out-of-state abortions since Dobbs but that it
     would be his “typical practice” to do so if the situation arose—and if the
     Crane Letter didn’t exist. Dkt. 2-4 ¶¶ 12, 15.

These nondefinitive statements do not show, “with some degree of concrete de-

tail, that [Plaintiffs] intend to violate the … law.” Candaele, 630 F.3d at 786.

      Compare these speculative statements with the kind of allegations that have

established pre-enforcement standing in other cases. In Santa Monica Food Not

Bombs v. City of Santa Monica, 450 F.3d 1022 (9th Cir. 2006), for example, an organ-

ization established pre-enforcement standing because it had “specifically” alleged

“that it would like to hold a march that starts in Santa Monica” but had to choose

another location for its march because of the City’s permit requirements. Id. at 1034.

Or take Susan B. Anthony List, where the plaintiffs challenged a law that penalized

certain “false” political speech during an election cycle and identified specific political

messages that they intended to make in future election cycles but for the law. 573

U.S. at 161–62. Or Holder v. Humanitarian Law Project, 561 U.S. 1 (2010), where




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the plaintiffs challenged a law that criminalized “knowingly providing material sup-

port or resources to a foreign terrorist organization” by claiming they had done so in

the past, promised to do so in the future, and the government had already charged

150 persons with violating the law. Id. at 8 (cleaned up).

       Here, in contrast, the indefinite statements in Plaintiffs’ declarations do not

show, “with some degree of concrete detail, that [Plaintiffs] intend to violate the …

law.” Candaele, 630 F.3d at 787. Their “general intent to violate a statute at some

unknown date in the future does not rise to the level of an articulated, concrete plan.”

Thomas, 220 F.3d at 1139. It does not give them pre-enforcement standing.

             3.     The Law’s Enforcement History Does Not Support Injury.

       Plaintiffs also present no evidence of past enforcement of the law at issue.

Thomas, 220 F.3d at 1139. They do not allege that the Attorney General or any of

the county prosecutors have ever enforced Idaho Code § 18-622(2) on the theory de-

scribed in the Crane Letter. They do not allege there have been any other judicial

proceedings or state licensing proceedings under this interpretation of Idaho law,

which no other court has ever had occasion to consider. Because “no enforcement

action against plaintiffs is concrete or imminent or even threatened,” Plaintiffs lacked

standing to bring this suit the day they filed it. Stormans, 586 F.3d at 1125.

III.   Plaintiffs Cannot Show the Other Preliminary Injunction Elements.

       The lack of any legal injury dooms Plaintiffs’ showing on the other elements

for preliminary injunctive relief.




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       Plaintiffs are not likely to succeed on the merits because there is no actual legal

dispute between the parties. Plaintiffs cannot prevail on the merits against any pol-

icy, practice, or prosecution because no relevant policy, practice, or prosecution exists.

And there is no dispute left about whether the opinion in the Crane Letter was right

or wrong because that opinion is now void.

       Nor can Plaintiffs meet the third and fourth elements of the preliminary in-

junction test, which merge when a government entity is the defendant. Tandon v.

Newsom, 992 F.3d 916, 933 (9th Cir. 2021). The balance of equities is null where

there is no justiciable controversy between the parties. And it is manifestly not in

the public interest for the federal courts to issue advisory opinions about disputes

that have yet to materialize.

                                      CONCLUSION

       The Court should deny Plaintiffs’ motion for a preliminary injunction and dis-

miss this action for lack of jurisdiction.

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DATED: April 14, 2023.

                                     STATE OF IDAHO
                                     OFFICE OF THE ATTORNEY GENERAL


                                  By:   /s/ Lincoln Davis Wilson
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Gross, Boise County Prosecutor; Andrakay Pluid, Boundary County Prosecutor; Jim
Thomas, Camas County Prosecutor; McCord Larsen, Cassia County Prosecutor; Tre-
vor Misseldine, Gooding County Prosecutor; Mark Taylor, Jefferson County Prosecu-
tor; Rob Wood, Madison County Prosecutor; Lance Stevenson, Minidoka County Pros-
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 14, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which sent a Notice of Elec-
tronic Filing to the following persons:

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